
381 U.S. 760 (1965)
CALIFORNIA
v.
HURST.
No. 45.
Supreme Court of United States.
Decided June 7, 1965.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT.
Stanley Mosk, Attorney General of California, Doris H. Maier, Assistant Attorney General, and Edsel W. Haws, Deputy Attorney General, for petitioner.
PER CURIAM.
The motion of respondent for leave to proceed in forma pauperis is granted. The petition for writ of certiorari is granted and the judgment is reversed. Linkletter v. Walker, ante, p. 618.
MR. JUSTICE BLACK and MR. JUSTICE DOUGLAS dissent for the reasons stated in their dissenting opinion in Linkletter v. Walker, ante, at 640.
